                          Case 1:24-cr-10013-MJJ
2-6   5HYLVHG86'&0$            Document 4-2 Filed 09/06/23 Page 1 of 2
Criminal Case Cover Sheet                                                          U.S. District Court - District of Massachusetts

Place of Offense:                        Category No.        II                    Investigating Agency          FBI

City       Quincy                                Related Case Information:

County        Norfolk                            6XSHUVHGLQJ,QG,QI                            &DVH1R        23-mj-4472-DHH
                                                 6DPH'HIHQGDQW                               1HZ'HIHQGDQW
                                                 0DJLVWUDWH-XGJH&DVH1XPEHU
                                                 6HDUFK:DUUDQW&DVH1XPEHU              See Attached
                                                 55IURP'LVWULFWRI

Defendant Information:

'HIHQGDQW1DPH           Hui Zhang                                            -XYHQLOH                  G <HV G
                                                                                                               ✔ 1R

                        ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU            G          ✔
                                                                                                             <HVG1R
$OLDV1DPH
$GGUHVV                  &LW\ 6WDWH   Quincy, MA

                      1982
%LUWKGDWH <URQO\ BBBBB661          7564
                                  ODVW BBBBBBBB     M
                                                   6H[BBBBB            5DFHBBBBBBBBBBB          1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

Defense Counsel if known:                                                         $GGUHVV

Bar Number

U.S. Attorney Information:

AUSA         William F. Abely                                         %DU1XPEHULIDSSOLFDEOH        660281

Interpreter:             ✔
                         G <HV       G 1R                  /LVWODQJXDJHDQGRUGLDOHFW             Mandarin

Victims:                ✔
                        G<HVG1R ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G               G <HV        1R

Matter to be SEALED:                 ✔
                                     G <HV       G     1R

          G✔ :DUUDQW5HTXHVWHG                       G 5HJXODU3URFHVV                        G ,Q&XVWRG\

Location Status:

Arrest Date

G $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                  LQ                                         
G $OUHDG\LQ6WDWH&XVWRG\DW                                         G 6HUYLQJ6HQWHQFH                G $ZDLWLQJ7ULDO
G 2Q3UHWULDO5HOHDVH        2UGHUHGE\                                            RQ

Charging Document:                   ✔ &RPSODLQW
                                     G                            G ,QIRUPDWLRQ                    G ,QGLFWPHQW
                                                                                                                       1
Total # of Counts:                   G 3HWW\                   G0LVGHPHDQRU                   G )HORQ\
                                                                                                   ✔

                                         &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔
G         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

'DWH     09/05/2023                         6LJQDWXUHRI$86$       V:LOOLDP)$EHO\
                          Case 1:24-cr-10013-MJJ Document 4-2 Filed 09/06/23 Page 2 of 2
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN                               23-mj-4472-DHH

Name of Defendant                   Hui Zhang

                                                                        U.S.C. Citations
                 Index Key/Code                                        Description of Offense Charged           Count Numbers

6HW           18 U.S.C. § 1344                                            Bank Fraud                                 1


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

ADDITIONAL INFORMATION:                               Search Warrant Case Numbers: 23-mj-4365-DHH; 23-mj-4462-DHH; 23-mj-4473-DHH




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
